  Case 23-25897        Doc 14       Filed 03/12/24 Entered 03/12/24 23:47:43            Desc Main
                                      Document     Page 1 of 3




Michael R. Lofgran (10820)
HUNTSMAN | LOFGRAN | WALTON PLLC
623 East Fort Union Blvd., Suite 201
Midvale, Utah 84047
Telephone:     801.838.8900
Facsimile:     801.850.0993
Email:         michael@hlw.law

Attorney for Debtors


                     IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF UTAH


  In re:                                                  Bankruptcy No. 23-25897

  CORBIN WILLIAM ARCHER AND LISA-                         Chapter 13
  ANN COLLET ARCHER
                                                          Hon. PEGGY HUNT
  Debtors.



                           MOTION TO WITHDRAW AS COUNSEL

             1. Pursuant to Local Rule 2091-2, Michael R. Lofgran (“counsel”), hereby moves to

withdraw as counsel for:

                Client Name:            Corbin and Lisa-Ann Archer
                Address:                3861 E Evelyn Dr.
                City, State, Zip:       Salt Lake City, UT 84124

             2. The reasons for withdrawal are as follows:

                    a. Huntsman | Lofgran | Walton, PLLC is closing the bankruptcy law section

                       of its practice, currently, and will be referring all bankruptcy clients to

                       other counsel.
  Case 23-25897        Doc 14     Filed 03/12/24 Entered 03/12/24 23:47:43            Desc Main
                                    Document     Page 2 of 3




                   b. Sarah Larsen, who was handling bankruptcies for Huntsman | Lofgran |

                       Walton, PLLC, is no longer an attorney for the firm.

                   c. Sarah Larsen has indicated that she will continue to practice bankruptcy

                       law through her company, Utah Bankruptcy Law Center, PLLC. She is

                       willing to continue representing Client in this case.

                   d. Clients in this matter have been notified of the change and have been

                       advised that Ms. Larsen will continue to represent them, or that clients

                       may retain new counsel if they wish.

           3. In the event this motion is granted, and unless and until Clients file a notice with

the court that they wish to appear pro se, or until another attorney files an appearance of counsel

on Clients’ behalf, the attorney of record in this case will be:

                   Sarah J. Larsen (08231)
                   Utah Bankruptcy Law Center, PLLC
                   PO Box 65817
                   Salt Lake City, UT 84165
                   (801) 335-5371
                   sarah.larsen@utahbankruptcylawcenter.com

           Please direct all future communications and notices accordingly.

           4. Ms. Larsen will be filing a formal appearance of counsel, forthwith.

           5. Pursuant to Local Rule 9011-2(a), no corporation, association, partnership,

limited liability company, or other artificial entity may appear pro se, but must be represented by

an attorney who is admitted to practice in this court.

           6. A copy of this motion has been served on Clients at the address above.
  Case 23-25897      Doc 14     Filed 03/12/24 Entered 03/12/24 23:47:43            Desc Main
                                  Document     Page 3 of 3




       Dated this 12th Day of March, 2024.

                                                    HUNTSMAN | LOFGRAN | WALTON PLLC


                                                    /s/ Michael R. Lofgran
                                                    MICHAEL R. LOFGRAN
                                                    Attorney for Debtor


                CERTIFICATE OF SERVICE BY ELECTRONIC NOTICE

       I hereby certify that on March 12th, 2024, I electronically filed the foregoing Motion to

Withdraw as Counsel with the United States Bankruptcy Court for the District of Utah by using

the CM/ECF system, which sent notice upon those registered with the ECF system, including the

Bankruptcy Trustee and the US Trustee.


                          CERTIFICATE OF SERVICE BY MAIL

       I hereby certify that on March 12th, 2024, I caused to be served a true and correct copy of

the foregoing Motion to Withdraw as Counsel via U.S. First-class mail, postage pre-paid,

addressed to:

                                     Corbin and Lisa-Ann Archer
                                     3861 E. Evelyn Dr.
                                     Salt Lake City, UT 84124


                                                      /s/ Jennifer Kijek
                                                    JENNIFER KIJEK
                                                    Paralegal for Michael R. Lofgran
